19-13196-scc            Doc 8   Filed 10/07/19        Entered 10/07/19 16:32:08               Main Document
                                                     Pg 1 of 3


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Proposed Counsel to the Debtor and
Debtor in Possession

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


In re:                                                            Chapter 11

GEORGE WASHINGTON BRIDGE BUS                                      Case No. 19-13196 (SCC)
STATION DEVELOPMENT VENTURE LLC,1

                                    Debtor.



                         NOTICE OF COMMENCEMENT OF CHAPTER 11
                         CASE AND AGENDA FOR FIRST DAY HEARING

        PLEASE TAKE NOTICE that on October 7, 2019, George Washington Bridge Bus
Station Development Venture LLC, as debtor and debtor in possession (the “Debtor”), filed a
voluntary petition for relief under chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”) with the United States Bankruptcy Court for the Southern District of New
York (the “Bankruptcy Court”).

       PLEASE TAKE FURTHER NOTICE that a hearing (the “First Day Hearing”) has
been scheduled for October 10, 2019 at 11:00 a.m. (Prevailing Eastern Time) before the
Honorable Shelley C. Chapman, United States Bankruptcy Judge, United States
Bankruptcy Court for the Southern District of New York, One Bowling Green, Courtroom
623, New York, New York 10004.

       PLEASE TAKE FURTHER NOTICE that an agenda with respect to the First Day
Hearing is set forth below. Copies of each pleading identified below can be viewed and/or

         1
           The last four digits of the debtor’s federal taxpayer identification number are 8685. The debtor’s business
address is 11890 Sunrise Valley Drive, Suite 554, Reston, VA 20191.


48036/0047-17932542v1
19-13196-scc            Doc 8   Filed 10/07/19    Entered 10/07/19 16:32:08        Main Document
                                                 Pg 2 of 3


obtained by: (i) accessing the Court’s website at www.nysb.uscourts.gov, or (ii) contacting the
Office of the Clerk of the Court at One Bowling Green, New York, New York 10004. Note that
a PACER password is needed to access documents on the Court’s website.

       PLEASE TAKE FURTHER NOTICE that any objections to the relief requested may
be presented at the First Day Hearing.

                         HEARING AGENDA FOR OCTOBER 10, 2019 AT 11:00 A.M.

I.       Introduction

                         Introduction – Cole Schotz P.C.

II.      Motions to Be Heard at the First-Day Hearing

                  (a)       Debtor’s Motion for Entry of an Order Extending the Debtor’s Time to
                            File Its Schedules of Assets and Liabilities and Statement of Financial
                            Affairs [Docket No. 3];

                  (b)       Debtor’s Motion for Entry of Interim and Final Orders (I) Approving
                            Debtor’s Proposed Form of Adequate Assurance of Payment; (II)
                            Establishing Procedures for Resolving Objections by Utility Companies;
                            and (III) Prohibiting Utility Companies from Altering, Refusing, or
                            Discontinuing Service [Docket No. 4];

                  (c)       Debtor’s Motion for Entry of Interim and Final Orders Authorizing it to (I)
                            Maintain Existing Insurance Policies and Pay All Insurance Obligations
                            Arising Thereunder and (II) Renew, Revise, Extend, Supplement, Change,
                            or Enter into New Insurance Policies [Docket No. 5];

                  (d)       Debtor’s Motion for Entry of Interim and Final Orders Authorizing Debtor
                            to Pay Pre-Petition Obligations to Certain Independent Contractors
                            [Docket No. 6]; and

                  (e)       Debtor’s Motion for Interim and Final Orders (I) Authorizing the Debtor
                            to Obtain Post-Petition Financing, (II) Authorizing the Debtor to Use Cash
                            Collateral, (III) Granting Liens and Providing Superpriority
                            Administrative Expense Status, (IV) Granting Adequate Protection, (V)
                            Invalidating Any Purported Prepetition Award of Attachment of Funds,
                            (VI) Modifying the Automatic Stay, (VII) Scheduling a Final Hearing, and
                            (VIII) Granting Related Relief [Docket No. 7].

        PLEASE TAKE FURTHER NOTICE that the following documents have also been
filed pursuant to the Local Bankruptcy Rules for the Southern District of New York or in
connection with the relief requested:




48036/0047-17932542v1
19-13196-scc            Doc 8   Filed 10/07/19    Entered 10/07/19 16:32:08      Main Document
                                                 Pg 3 of 3


                  (a)      Declaration of Bernard A. Katz in Support of Chapter 11 Petition and First
                           Day Pleadings [Docket No. 2]; and

                  (b)      Declaration of Bernard A. Katz in Support of Motion for Interim and Final
                           Orders (I) Authorizing the Debtor to Obtain Post-Petition Financing, (II)
                           Authorizing the Debtor to Use Cash Collateral, (III) Granting Liens and
                           Providing Superpriority Administrative Expense Status, (IV) Granting
                           Adequate Protection, (V) Modifying the Automatic Stay, (VI) Scheduling
                           a Final Hearing, and (VII) Granting Related Relief [Docket No. 7-6].



Dated: October 7, 2019                               Respectfully Submitted,
       New York, New York
                                                     COLE SCHOTZ P.C.

                                                     By:__/s/ Michael D. Sirota
                                                         Michael D. Sirota
                                                         Felice R. Yudkin
                                                         Ryan T. Jareck
                                                         Mark Tsukerman
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